Appellate Case: 23-8054     Document: 010110920921         Date Filed: 09/15/2023     Page: 1
                                                                                     FILED
                                                                         United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                            Tenth Circuit

                              FOR THE TENTH CIRCUIT                          September 15, 2023
                          _________________________________
                                                                             Christopher M. Wolpert
                                                                                 Clerk of Court
 JAKE STANLEY DEWILDE,

       Plaintiff - Appellant,

 v.                                                            No. 23-8054
                                                     (D.C. No. 1:23-CV-00003-SWS)
 ATTORNEY GENERAL OF THE                                        (D. Wyo.)
 UNITED STATES, et al.,

       Defendants - Appellees.
                       _________________________________

                                       ORDER
                          _________________________________

 Before MATHESON and BACHARACH, Circuit Judges.
                   _________________________________

        This matter is before the court on appellees’ opposed motion for an extension of

 time to file the response brief. Upon consideration, the motion is granted as modified.

 Appellees shall serve and file their response brief on or before November 6, 2023.


                                              Entered for the Court



                                              CHRISTOPHER M. WOLPERT, Clerk
